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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JOHN DOE, a minor,                                      :      Case No. 2:20-cv-4119
                                                        :
         Plaintiff,                                     :      Chief Judge Algenon L. Marbley
                                                        :
                v.                                      :      Chief Magistrate Judge Deavers
                                                        :
 FRANKLIN COUNTY CHILDREN                               :
 SERVICES, et al.,                                      :
                                                        :
       Defendants.

                                           DISMISSAL

       Now comes Plaintiff, by and through undersigned counsel, and Pursuant to Fed. R. Civ. P.

41(a), hereby dismisses this action in its entirety and with prejudice.



                                                Respectfully Submitted,


                                                /s/ Zachary M. Swisher per authority
                                                Zachary M. Swisher, Esq. (0076288)
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                                                SWISHER, LLC
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                                                Counsel for Plaintiff
Case: 2:20-cv-04119-ALM-EPD Doc #: 74 Filed: 03/23/22 Page: 2 of 2 PAGEID #: 1493




                                  CERTIFICATE OF SERVICE

         This is to certify that the foregoing Dismissal was filed electronically on March 23, 2022.

 Notice of this filing will be sent to all counsel by operation of the Court’s electronic filing system.

 Parties may access this filing through the Court’s system.

                                                         /s/ Zachary M. Swisher
                                                         Zachary Swisher
                                                         (0076288)
